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10
                                  UNITED STATES DISTRICT COURT
11
                                NORTHERN DISTRICT OF CALIFORNIA
12
                                       SAN FRANCISCO DIVISION
13
14
     UNITED STATES OF AMERICA,                      )    Criminal No. CR 05-00278 PJH
15                                                  )
             Plaintiff,                             )
16                                                  )
                                                    )    STIPULATION AND [PROPOSED]
17                                                  )    ORDER CONTINUING HEARING
        v.                                          )
18                                                  )
                                                    )
19   JENNIFER K. BUSTOS and                         )
     CHERYLL DEL ROSARIO,                           )
20                                                  )
             Defendants.                            )
21                                                  )
22
23             The above-captioned matter came before the Court on June 8, 2005, for status.
24   Defendant Jennifer Bustos was represented by Lorne Dubin. Defendant Cheryll Del Rosario’s
25   counsel, John Runfola, was ill and not present. The government was represented by Hartley
26   West, Assistant United States Attorney. The case was set for June 15, 2005, at 2:30 p.m. for
27   change of plea or motions/trial setting.
28             The Court made a finding on the record that the time from and including June 8 through

     STIPULATION AND [PROPOSED]
     ORDER EXCLUDING TIME
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1    June 15, 2005, should be excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(A),

2    because the ends of justice served by taking such action outweighed the best interest of the public

3    and the defendant in a speedy trial. That finding was based on the need for the defendant to have

4    reasonable time necessary for effective preparation, taking into account the exercise of due

5    diligence, and for continuity of counsel pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv).

6             The parties hereby agree to and request that the case be continued until June 15, 2005

7    and that the exclusion of time until then be granted. The parties agree and stipulate that the

8    additional time is appropriate and necessary under Title 18, United States Code, Section

9    3161(h)(8)(A), because the ends of justice served by this continuance outweigh the best interest

10   of the public and the defendant in a speedy trial. This time exclusion will allow defense counsel

11   to effectively prepare, taking into account the exercise of due diligence, and will provide for

12   continuity of counsel for the defendant.

13
14   DATED: June 9, 2005                                    /S/
                                                   LORNE DUBIN
15                                                 Counsel for Jennifer Bustos

16
17
     DATED: June 9, 2005                                    /S/
18                                                 JOHN RUNFOLA
                                                   Counsel for Cheryll Del Rosario
19
20
21   DATED: June 8, 2005                                    /S/
                                                   JEFFREY FINIGAN
22                                                 Assistant U.S. Attorney

23
24   So ordered.

25   DATED: 6/13/05
                                                   PHYLLIS J. HAMILTON
26                                                 UNITED STATES DISTRICT COURT JUDGE

27
28
     STIPULATION AND [PROPOSED]
     ORDER EXCLUDING TIME
     CR 05-00278 PJH                                  2
